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                    EXHIBIT B
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              How to deactivate your account
              Taking a break from Twitter? We get it. Sometimes it’s good to take a step back from
              everything that’s going on. Or if you’re looking for a permanent break, we can help
              you too. Follow our step-by-step instructions on how to deactivate—or delete—your
              Twitter account.


              Note: If you are having an account issue (e.g. missing Tweets, incorrect follower or
              following counts, suspicious Direct Messages or potential account compromise),
              deactivating and reactivating your account will not resolve it. Please refer to our
              troubleshooting articles or contact Twitter Support.

                       Deactivating vs. deleting your Twitter account
                       Deactivating your Twitter account
                       Deleting your Twitter account
                       Top things to know before deactivating your account
                       How to deactivate your account




                                                                                                                   Feedback
                       Deactivation FAQs




              Deactivating vs deleting your Twitter account
              Deactivating your Twitter account is the first step to deleting your account
              permanently. Deactivation lasts 30 days. If you do not access your account within the
              30-day deactivation period, your account is deleted and your username will no longer
              be associated with your account.




              Deactivating your Twitter account
              Deactivation begins the process to permanently delete your Twitter account. This
              step initiates a 30-day window that gives you space to decide if you’d like
              to reactivate your account.

              Deactivating your Twitter account means your username (or “handle”) and public
              profile will not be viewable on twitter.com, Twitter for iOS or Twitter for Android.




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              Deleting your Twitter account
              After your 30-day deactivation window, your Twitter account is permanently deleted.
              When you don’t log into your account during the 30-day window, it lets us know you
              want to permanently delete your Twitter account. Once your account is deleted, your
              account is no longer available in our systems. You won’t be able to reactivate your
              previous account and you won’t have access to any old Tweets.




              Top things to know before deactivating your
              account
              Here are a few things to keep in mind if you’ve decided to deactivate or delete your
              Twitter account:

                       Deleting your Twitter account won’t delete your information from search
                       engines like Google or Bing because Twitter doesn’t control those sites. There




                                                                                                                   Feedback
                       are steps you can take if you contact the search engine.
                       When you deactivate your Twitter account, mentions of your account’s
                       username in other’s Tweets will still exist. However it will no longer link to your
                       profile as your profile will no longer be available. If you would like the content to
                       be reviewed under the Twitter Rules, you may file a ticket here.
                       You don’t have to delete your account to change the username or email
                       (https://twitter.com/settings/your_twitter_data/account) associated with your Twitter
                       account. Go to Account information to update that anytime.
                       Logging into your account within the 30-day deactivation window easily restores
                       your account.
                       If you want to download your Twitter data, you’ll need to request it before you
                       deactivate your account. Deactivating your account does not remove data from
                       Twitter systems.
                       Twitter may retain some information on your deactivated account to ensure the
                       safety and security of its platform and people using Twitter. More information
                       can be found here.



              If you’re having trouble managing your Twitter account, check out these tips for
              managing common issues before choosing to delete your Twitter account.



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                       Help with missing Tweets
                       Common following issues
                       What to do about suspicious Direct Messages and potential account
                       compromise




              Instructions for:


              How to deactivate your account
              Step 1
              Tap the navigation menu icon                        , then tap Settings and privacy.

              Step 2
              Tap Your account (https://twitter.com/settings/account), then tap Deactivate your
              account (https://twitter.com/settings/deactivate).




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              Step 3
              Read the account deactivation information, then tap Deactivate.

              Step 4
              Enter your password when prompted and tap Deactivate.

              Step 5
              Confirm that you want to proceed by tapping Yes, deactivate.

              Step 1
              In the top menu, you will either see a navigation menu icon                      or your profile icon.
              Tap whichever icon you have, then tap Settings and privacy.

              Step 2
              Tap Account (https://twitter.com/settings/account), then tap Deactivate your account
              (https://twitter.com/settings/deactivate).


              Step 3
              Read the account deactivation information, then tap Deactivate.

              Step 4
              Enter your password when prompted and tap Deactivate.

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              Step 5
              Confirm that you want to proceed by tapping Yes, deactivate.

              Step 1
              Click on the More icon                   and then click on Settings and privacy from the drop-
              down menu.

              Step 2
              From the Your account (https://twitter.com/settings/account) tab, click on Deactivate
              your account (https://twitter.com/settings/deactivate).

              Step 3
              Read the account deactivation information, then click Deactivate.

              Step 4
              Enter your password when prompted and confirm that you want to proceed by
              clicking the Deactivate account button.




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              If you find you miss Twitter and it’s been less than 30 days, simply log in and follow
              these steps to reactivate your account.




              Deactivation FAQs
              Does deactivating Twitter also delete my direct
              messages?
              During the 30-day deactivation period, your direct messages won’t be deleted. When
              the deactivation period ends and your account is deleted, direct messages you’ve
              sent will also be deleted.


              I deactivated my account, but why does it keep
              getting reactivated?
              If you authorized any third-party apps to access your account, you may be indirectly
              logging in from another app. Because logging into Twitter automatically reactivates
              your account, make sure to revoke third-party app access to your Twitter account.



https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-account                                      5/9
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              What if I don’t have my password when I try to
              deactivate?
              If you don’t have it handy, or you’re receiving a message that it’s wrong, you may
              need to reset your password. Try requesting a password reset email
              (https://twitter.com/account/begin_password_reset).



              I requested a password reset email, but what if I lose
              access to my email address that I used to set up my
              account?
              If you lose access to your email address that is connected to your Twitter account,
              you will need to contact your email service provider. Get help with access to your
              email address. Deactivation is an action that must be taken by the confirmed account
              holder or by request of a confirmed account holder. Unless you can contact us from
              the confirmed email address (or have access to the verified mobile number on the
              account), we cannot deactivate the account on your behalf. If you do have access to
              the verified mobile number on your account, then you can request a password reset.




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              How do I deactivate my locked or suspended
              account?
              To deactivate your suspended or locked account, please submit a request here
              (https://help.twitter.com/forms/account-access/deactivate-or-close-account). Requests can also be
              addressed to the contacts listed under the “How To Contact Us” section of our
              Privacy Policy (https://twitter.com/privacy#chapter4.5).

              You can also get help unlocking your account (https://help.twitter.com/managing-your-
              account/locked-and-limited-accounts). Get more information on managing your locked or
              suspended account (https://help.twitter.com/managing-your-account/suspended-twitter-accounts),
              including filing an appeal (https://help.twitter.com/forms/general?subtopic=suspended).


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